         Case 20-30599 Document 42 Filed in TXSB on 05/27/20 Page 1 of 2

                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

IN RE:                                           §    CASE NO: 20-30599                  ENTERED
                                                 §                                       05/27/2020
Debra Denese Williams,                           §    CHAPTER 13
                                                 §
         Debtor.                                 §

  ORDER GRANTING MOTION TO APPROVE COMPROMISE OR SETTLEMENT
                      WITH MIDFIRST BANK

       The Court has considered the Motion to Approve Compromise or Settlement with

MidFirst Bank filed by counsel for debtor Debra Denese Williams on April 24, 2020. The Court

finds that the compromise or settlement is fair and equitable. It is therefore

         ORDERED that the Compromise, Settlement and Release Agreement filed on April 24,

2020 at ECF No. 36 is approved.



         August
         May     02, 2019
             27, 2020
        Case 20-30599 Document 42 Filed in TXSB on 05/27/20 Page 2 of 2




Return to:

Nicholas M. Wajda
Wajda & Associates, APC
SBT 24106757
5430 Lyndon B. Johnson Fwy, Ste. 1200
Dallas, TX 75206
Tel: (214) 396-6008
Fax: (866) 286-843
Email: nick@recoverylawgroup.com
ATTORNEY FOR DEBTOR
